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                           MILFORD MANAGEMENT C~t~P.
                                   99 BATTERY PLACE
                                NEW YORK, NEW YORK 70280
                                    TEL: 212/842-7310
                                    FAX: 27 2/842-7410




March 10, 2010


Steven Greer, MD


Rte; Accounf to Legal:
HOC Rector Place apt# 35-F

Dear 1,~Ir. Dr. Steven Greer,


ACCOUNT WAS FORWARD TO OUR LEGAL DEPARTMENT ON Wednesday
March 10t ~~D10.


Our records indicate that you owe rent payments for the months February and
March 201~J.


Please send payment in full to bring account current.

In order to avid future legal and late fees please remif payment in the amount of

 5 840.00.


Account history attached.

Sharon Hill
Collections Coordinator




                                                                                    LD000094
